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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                                      )
  IN RE: JOHNSON & JOHNSON            )
  TALCUM POWDER PRODUCTS              )
  MARKETING, SALES PRACTICES AND )             MDL Docket No. 2738
  PRODUCTS LIABILITY LITIGATION       )
  ___________________________________ )
                                      )
  This Document Relates To:           )
                                      )
  Demelia v. Johnson & Johnson,       )
  Case No. 3:17-cv-10971              )
                                      )
  Pringle v. Johnson & Johnson,       )
  Case No. 3:17-cv-06766              )
                                      )
  Smith v. Johnson & Johnson,         )
  Case No. 3:17-cv-11212              )
                                      )

    DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ RESPONSE TO THE
               COURT’S ORDER TO SHOW CAUSE
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                                 INTRODUCTION


        Defendants Johnson & Johnson and LLT Management, LLC, oppose the

  Responses to the Court’s Order to Show Cause filed by Plaintiffs Marylou

  Demelia (ECF 32863), Maryladene Pringle (ECF 32864), and Cassie Smith (ECF

  32865) on June 27, 2024. These Plaintiffs have failed to provide Defendants with

  Court-ordered discovery for over eight months. In fact, all three Plaintiffs state in

  their responses that they do not desire to continue their cases. The Court should

  find that these Plaintiffs have not shown good cause as to why their cases should

  not be dismissed with prejudice.


             STATEMENT OF FACTS AND PROCEDURAL HISTORY


        These three Plaintiffs were originally required to provide Plaintiff Profile

  Forms (“PPFs”) to Defendants on October 16, 2023, pursuant to the Amended

  Plaintiff’s Profile Form Order (ECF 27291). After failing to provide Defendants

  with the discovery by the above noted deadline, all three Plaintiffs moved to

  dismiss their cases without prejudice. (See Case No. 3:17-cv-06766, Docs. 17;

  Case No. 3:17-cv-10971, Doc. 18; Case No. 3:17-cv-11212, Doc. 17). Defendants

  opposed all three motions. (See Case No. 3:17-cv-06766, Doc. 18; Case No. 3:17-

  cv-10971, Doc. 19; Case No. 3:17-cv-11212, Doc. 18). As a result of their failure

  to serve discovery, these three Plaintiffs were listed in the March 1, 2024 PPF


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  Report (ECF 29168) and then again in the April 1, 2024 PPF Report (ECF 30612).


        Subsequently, due to their continual failure to serve Defendants with a

  PPF, and in accordance with the Court’s Order outlining a protocol for

  adjudicating cases that fail to serve PPFs (ECF 29032), these three Plaintiffs

  were listed in the May 1, 2024 Order to Show Cause issued by the Court (ECF

  32811). Plaintiffs now come before the Court in an attempt to prevent the

  dismissal of their cases with prejudice for their failure to provide Court-ordered

  discovery. Instead, they seek dismissals without prejudice apparently to evade

  the discovery orders of the Court and preserve their cases for another day and

  potentially another forum. This excuse should be rejected, and the cases

  dismissed with prejudice.


                                       ARGUMENT


        In their responses, all three Plaintiffs state they or their families (if the

  Plaintiff is deceased) do not wish to proceed with their cases. See Pringle Resp.

  at 2 (ECF 32864); Demelia Resp., at 2 (ECF 32863); and Smith Resp., at 2 (ECF

  32865). The fact that these Plaintiffs do not wish to proceed with their claims and

  acknowledge they will not provide the Court ordered discovery should end any

  argument. These admissions alone clearly justify dismissing Plaintiffs’ cases with

  prejudice.


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        Instead of addressing their failure to abide by Court Orders and provide

  PPFs, Plaintiffs’ responses attempt to rehash their Motions to Dismiss Without

  Prejudice previously filed and opposed by these Defendants. (See Case No. 3:17-

  cv-06766, Doc. 17-18; Case No. 3:17-cv-10971, Doc. 18-19; Case No. 3:17-cv-

  11212, Doc. 17-18). Plaintiffs’ efforts at supplementing their arguments on their

  Motions to Dismiss Without Prejudice are procedurally improper, and the Court

  should not permit Plaintiffs to make additional argument beyond their Motions

  and Replies previously filed. Beyond their procedural impropriety, Plaintiffs’

  arguments are without merit. To the extent the Court wants to consider those

  arguments here, Defendants refer the Court to their original opposition briefs. (See

  Case No. 3:17-cv-06766, Doc. 18; Case No. 3:17-cv-10971, Doc. 19; Case No.

  3:17-cv-11212, Doc. 18).




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                                    CONCLUSION

        For the foregoing reasons, Defendants respectfully request the Court reject

  Plaintiffs’ request to dismiss their cases without prejudice and rule that these

  Plaintiffs have not shown good cause as to why their cases should not be dismissed

  with prejudice.

  Dated: July 3, 2024                           Respectfully submitted,

                                                /s/ Susan M. Sharko
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                                                REATH LLP
                                                Attorneys for Defendants
                                                Johnson & Johnson and LLT
                                                Management, LLC




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